     Case 4:22-cv-00302-RH-MAF Document 129 Filed 11/23/22 Page 1 of 9




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

ANDREW H. WARREN,
    Plaintiff,

v.                                            CASE NO.: 4:22-CV-302-RH-MAF

RON DESANTIS, individual and in his
Official capacity as Governor of the State
of Florida,
      Defendant.
                                                 /

             EMERGENCY1 MOTION TO QUASH SUBPOENA
                 AND/OR FOR PROTECTIVE ORDER
                   AND MEMORANDUM OF LAW

                     LOCAL RULE 7.1 CERTIFICATION

      Pursuant to Local Rule 7.1(B), undersigned counsel spoke with David Singer,

Esq., counsel for the Plaintiff. Mr. Singer advises that the need to subpoena Sheriff

Lemma may be rendered moot by the Court’s consideration later today at a pretrial

conference as to admissibility of a newspaper article. Given the short timeframe

remaining, however, the Sheriff believes it necessary to file this motion, recognizing

that the subpoena at issue may be withdrawn.




1
 This Motion is filed as an Emergency Matter pursuant to Local Rule 7.1(L) as the
Sheriff has just been served on the week of Thanksgiving with a Subpoena
purporting to require his attendance at a hearing nearly 300 miles away within 7
days.
     Case 4:22-cv-00302-RH-MAF Document 129 Filed 11/23/22 Page 2 of 9




      COMES NOW, Sheriff Dennis M. Lemma, Sheriff of Seminole County,

Florida (“Sheriff”),2 by and through undersigned counsel, and files this Motion to

Quash Subpoena and/or for Protective Order and Memorandum of Law, pursuant to

FEDERAL RULES OF CIVIL PROCEDURE 30 and 45, and Local Rule 7.1, and requests

that the Court quash or otherwise issue a protective Order as to Plaintiff’s trial

subpoena to the Sheriff, and states:

      On November 22, 2022, the Sheriff was served with Plaintiff’s Subpoena to

Appear and Testify, requiring the Sheriff to appear in the Northern District of

Florida, in Tallahassee, on November 29, 2022, at 9:00 am. (Subpoena, attached as

Exhibit “1”). This was the first time Sheriff Lemma has been involved in the instant

litigation. At no point preceding the issuance and service of the Subpoena did

counsel for the issuing Party contact the Sheriff or his counsel to confer concerning

the Sheriff’s attendance. It is noted that the Court on September 29, 2022 issued a

scheduling order setting the November 29, 2022 trial date; thus, there was ample

time for counsel to have contacted the Sheriff’s Office to discuss the matter and

attempt to resolve it in advance of the issuance of the subpoena.

      This Court should quash or issue a protective Order as to the subpoena for the

Sheriff’s attendance at trial on November 29, 2022, because, due to the short notice,


2
  This Motion is filed seeking protection from the Court but since the Sheriff is not
a party to this case, this Motion should not be construed as submitting to the
jurisdiction of this Court.

                                         2
      Case 4:22-cv-00302-RH-MAF Document 129 Filed 11/23/22 Page 3 of 9




the Sheriff already has commitments for November 29, 2022 relating to law

enforcement matters in Seminole County, Florida, and because (1) Plaintiff’s

subpoena for the Sheriff violates FEDERAL RULE OF CIVIL PROCEDURE 45; and (2)

The seeking of the Sheriff’s testimony violates the “apex” doctrine. It has not been

shown that the Sheriff has any relevant evidence to provide at trial and certainly

none that justifies disruption of his public official schedule in this manner.

                            MEMORANDUM OF LAW

I.    Plaintiff’s Subpoena Violates FEDERAL RULE OF CIVIL PROCEDURE 45

      Pursuant to FEDERAL RULE OF CIVIL PROCEDURE 45(c)(1)(A), a subpoena may

command a person to attend a trial, hearing, or deposition within 100 miles of where

the person resides, is employed, or regularly transacts business in person.3

      It is well known, and subject to judicial notice pursuant to Federal Rule of

Evidence 201(b)(2), that Tallahassee is more than 100 miles from Seminole County,

Florida. The distance from where Sheriff Lemma resides in Seminole County to 111

N Adams St, Tallahassee, FL 32301, is 278 miles according to Google Maps and

includes a drive time of four hours and twenty minutes each way. See Dopson-Troutt

v. Novartis, 295 F.R.D. 536, n. 1 (M.D. Florida 2013).



3
  Fed. R. Civ. P. 45(c)(1)(B), is not applicable as the Sheriff is not party or a party’s
officer and attending trial in Tallahassee with only seven days’ notice would
necessarily cause the Sheriff to incur substantial expense and hardship.


                                           3
      Case 4:22-cv-00302-RH-MAF Document 129 Filed 11/23/22 Page 4 of 9




      FEDERAL RULE OF CIVIL PROCEDURE 45(c)(3)(A)(ii), does not permit service

of a trial subpoena on witnesses who work or reside more than 100 miles from the

courthouse. “Rule 45(c) sets forth a number of protections for persons who are

subject to a subpoena. More particularly, Rule 45(c)(3)(A)(ii) requires in pertinent

part that a court must quash or modify a subpoena that ‘requires a person who is

neither a party nor a party’s officer to travel more than 100 miles from where that

person resides, is employed, or regularly transacts business in person.’” Guenther v.

Novartiz, 297 F.R.D. 659,660 (M.D. Florida 2013). See also Dopson-Troutt v.

Novartis, 295 F.R.D. 536, n. 1 (M.D. Florida 2013); Osgood v. Discount Auto, 981

F.Supp.2d 1259 (S.D. Florida 2013); Patrick Collins, Inc. v. Does, 2012 WL

12870254 (N.D. Florida 2012); Johnson v. Big Lots, 251 F.R.D. 213, 218 (E.D.

Louisiana 2008); Brooks v. Westrock Services, 2021 WL 4987163 (N.D. Florida

2021).

      An exception exists where the witness would not “incur substantial expense.”

Fed.R.Civ.P. 45(c)((1)(B)(ii). The subpoena included a mileage check for $385, but

the subpoena directs the Sheriff to appear at 9 a.m. on the first day of trial and so the

Sheriff would, in addition to the substantial distraction from his duties, incur

additional expenses for hotel accommodations for an unknown number of nights,

meal expenses, and the like.




                                           4
      Case 4:22-cv-00302-RH-MAF Document 129 Filed 11/23/22 Page 5 of 9




      As the Sheriff is not within 100 miles of the trial and is neither a party or a

party’s officer, the Court should exercise its discretion as to whether to quash or

modify the subpoena, which depends in large part on whether the Plaintiff here has

shown “a substantial need for the testimony that cannot otherwise be met without

undue hardship.” Jin Zhi Star LT, LLC v. American Zurich Ins. Co., 2012 WL

2886719 *3 (S.D.Fla. July 13, 2012) (citing Rule 45(c)(3)(C).

      In this case, the Sheriff is unaware of having had any role in the matter at

hand. Plaintiff has subpoenaed the Sheriff with one week’s notice, over a holiday

weekend. If the point of his testimony is simply to assert that some other public

official has made a public statement concerning issues similar to the one in this case,

the logic of that position would allow a party to subpoena any public official under

similar circumstances. Accordingly, pursuant to Rule 45(c)(3)(A), this Court should

quash the subpoena for the Sheriff since it does not comply with the provisions of

Rule 45(c)(1)(A), and because the provisions of Rule 45(c)(1)(B), are inapplicable.

II.   The Application of the “Apex” Doctrine.

      Under the apex doctrine, a Court may bar the testimony of a high level

executive who lacks unique or personal knowledge related to the case. In re Mentor

Corp., 2009 WL 4730321, at *1 (M.D. Georgia 2009); Minter v. Wells Fargo, 258

F.R.D. 118, 126 (D. Maryland 2009); Salter v. Upjohn Co., 593 F.2d 649, 651 (5th

Cir. 1979); Gavins v. Rezaie, 2017 WL 3034621, at *1 (S.D. Florida 2017).


                                          5
     Case 4:22-cv-00302-RH-MAF Document 129 Filed 11/23/22 Page 6 of 9




      In this case, the Sheriff has not been contacted by the Plaintiff or Plaintiff’s

Counsel concerning this cause. The only discussion concerning it occurred today,

November 23, 2022. It is unclear what, if any, relevance the Sheriff’s testimony

could possibly have to the claims in Plaintiff’s Complaint (Doc. 1), including

whether, as alleged in Count One, Governor Ron DeSantis violated Plaintiff’s rights

under the First and Fourteenth Amendments in violation of 42 U.S.C. § 1983, or as

alleged in Count Two, whether Governor Ron DeSantis improperly exercised his

powers derived from the State.

      To protect high-ranking government officials from the constant distraction of

testifying in lawsuits and to avoid offending the separation of powers by compelling

their appearance in judicial proceedings, courts place “appropriate limitations on

efforts to compel their testimony.” In re USA, 624 F.3d 1368, 1373–74, 1376 (11th

Cir. 2010). Thus, “absent extraordinary circumstances,” courts will not permit the

deposition of a high-ranking corporate or government official. Buckler v. Israel,

2014 WL 7777678, at *1 (S.D. Florida 2014). See also U.S. v. Wal-Mart, 2002 WL

562301, *3 (D. Maryland 2002); U.S. v. Morgan, 313 U.S. 409 (1941); Energy

Capital v. US, 60 Fed. Cl. 315 (U.S. Court of Federal Claims 2004).

      For the apex doctrine to apply, the Court must first determine whether “the

government official is sufficiently high ranking to merit protection from giving a

deposition....” Buckler v. Israel, 2014 WL 7777678, at *1 (S.D. Florida 2014).


                                          6
     Case 4:22-cv-00302-RH-MAF Document 129 Filed 11/23/22 Page 7 of 9




      That issue should not be in dispute in this case, since the Sheriff is a

constitutional officer of the State of Florida, pursuant to, inter alia, the Florida

Constitution Article II, Section 5; Article VIII, Section 1; Florida Statute § 26.49;

Florida Statutes Chapter 30; Florida Statute § 30.15; Florida Statute § 30.53; and

Florida Statute § 218.31(8). Furthermore, a Sheriff has been found to be sufficiently

high ranking to trigger the apex doctrine. Watts v. Parr, 2019 WL 13175559, *2

(M.D. Georgia 2019).

      Next, the party seeking the testimony must demonstrate that the official has

unique or superior knowledge of discoverable information that cannot be obtained

by other means. In re Mentor Corp., 2009 WL 4730321 (M.D. Georgia 2009);

Chick-Fil-A v. CFT Dev., 2009 WL 928226 (M.D. Florida 2009).

      In this case, Plaintiff has failed to show such “extraordinary circumstances”

that would justify the Sheriff’s mandated appearance at the trial of this matter. In re

USA, 624 F.3d 1368, 1373 (11th Cir. 2010). Plaintiff’s claims relate to actions taken

by Governor DeSantis, not the Sheriff. Sheriff Lemma has had no role in the

litigation between the parties to this cause and is not knowingly in possession of any

information which is relevant to their dispute. Therefore, the Sheriff can offer no

relevant testimony to Plaintiff’s allegations against Governor DeSantis set for trial

on November 29, 2022.




                                          7
       Case 4:22-cv-00302-RH-MAF Document 129 Filed 11/23/22 Page 8 of 9




       Accordingly, because Plaintiff has failed to establish the “extraordinary

circumstances” that would justify requiring the Sheriff, who is the “apex”

constitutional officer of a government agency, to attend trial in Tallahassee, on

November 29, 2022, this Court should quash the subpoena or otherwise enter a

protective order prohibiting the Sheriff from complying with said subpoena.

III.   Plaintiff Failed to Comply With Federal Rule Of Civil Procedure 45(d)(1)

       Federal Rule of Civil Procedure 45(d)(1) provides, “Avoiding Undue Burden

or Expense; Sanctions. A party or attorney responsible for issuing and serving a

subpoena must take reasonable steps to avoid imposing undue burden or expense on

a person subject to the subpoena. The court for the district where compliance is

required must enforce this duty and impose an appropriate sanction--which may

include lost earnings and reasonable attorney's fees--on a party or attorney who fails

to comply.” However, as noted above, Plaintiff did not, prior to the service of the

Subpoena, contact the Sheriff or his counsel, either in-house or otherwise, to confer

concerning the issuance of the Subpoena, or even to discuss the action and what, if

any, relevant information Plaintiff believes Sheriff might possess. Rather, Plaintiff

has waited until the Tuesday the week of the Thanksgiving holiday, to subpoena the

Sheriff to testify at a hearing nearly 300 miles away on the following Tuesday.

Based on discussions with counsel today, the Sheriff’s knowledge is incidental and

indirect, and does not justify this level of intrusion into his public duties.


                                            8
      Case 4:22-cv-00302-RH-MAF Document 129 Filed 11/23/22 Page 9 of 9




       WHEREFORE, Sheriff Dennis Lemma, Sheriff of Seminole County, Florida,

respectfully requests that this Honorable Court enter an order quashing the subpoena

served on the Sheriff or entering a protective order prohibiting the appearance of the

Sheriff at the trial of this matter on November 29, 2022, together with such further

orders as justice demands.

       Respectfully Submitted this 23rd day of November, 2022.



                             Local Rule 7(f) certification.

       This motion complies with Local Rule 7(F) in that the word count total is

1,910 words.


                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 23, 2022, I electronically submitted

the foregoing with the Clerk of Court using the CM/ECF system, who will send

electronic notice to all parties.

                                        s/ Thomas W. Poulton
                                        THOMAS W. POULTON, ESQ.
                                        Florida Bar No.: 0083798
                                        poulton@debevoisepoulton.com
                                        DeBEVOISE & POULTON, P.A.
                                        1035 S. Semoran Boulevard, Suite 1010
                                        Winter Park, Florida 32792
                                        Telephone: 407-673-5000
                                        Facsimile: 321-203-4304
                                        Attorneys for Non–Party
                                        Sheriff Dennis Lemma

                                           9
